                                Case 16-17247            Doc 41       Filed 12/29/17            Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 16-17247-NVA
Yveatte E Pratt                                                                                            Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: jjohnson                     Page 1 of 1                          Date Rcvd: Dec 27, 2017
                                      Form ID: pdfdbtr                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 29, 2017.
db             +Yveatte E Pratt,   2312 Lawnwood Circle,   Gwynn Oak, MD 21207-8101

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 29, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 27, 2017 at the address(es) listed below:
              Jeffrey M. Sirody   smeyers5@hotmail.com, sffecf@gmail.com,sfaecf@gmail.com,garyp@sirody.com,
               jsaecf@gmail.com,sirodyjr47896@notify.bestcase.com
              Kyle J. Moulding   bankruptcymd@mwc-law.com
              Robert S. Thomas   ECF@ch13balt.com, rthomas13@ecf.epiqsystems.com
                                                                                            TOTAL: 3
Entered: December 27th, 2017
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Signed: December 27th, 2017

SO ORDERED




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                                at Baltimore
                                      In re:   Case No.: 16í17247 í NVA     Chapter: 13

  Yveatte E Pratt
  Debtor

                        ORDER DISMISSING CASE ON REQUEST OF DEBTOR(S)
                        AND NOTICE THAT AUTOMATIC STAY IS TERMINATED
 The Debtor(s) having requested dismissal of this Chapter 13 case, and the Court finding that the case has not been
 converted under § 706, § 1112, or § 1208 of the Bankruptcy Code and that the case may be dismissed under §
 1307(b) of the Bankruptcy Code, it is, by the United States Bankruptcy Court for the District of Maryland,

 ORDERED, that this case is dismissed; and it is further

 ORDERED, that, to the extent the Trustee holds funds that would otherwise be returned to the Debtor(s), the Trustee
 shall first deduct and remit to the Clerk the amount of $í0í for unpaid filing and administrative fees; and

 ALL PARTIES ARE HEREBY NOTIFIED, that the automatic stay imposed by 11 U.S.C. § 362(a) is terminated.


  cc:    Debtor
         Attorney for Debtor í Jeffrey M. Sirody
         Case Trustee í Robert S. Thomas II

                                                      End of Order

 Section 109(g)(2) is applicable, and the aboveínamed Debtor(s) may not file another bankruptcy petition for 180
 days after the date this order is entered. By: jjohnson, Deputy Clerk

 15x08 (rev. 01/26/2010) í jjohnson
